                                UNITED STATES BANKRUPTCY COURT
                            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE:                                              :
                                                    :
ALLORA LABORATORY, LLC                              : CASE NO. 1-22-01136-HWV
                                                    :
                         Debtor                     : CHAPTER 7


                          ORDER APPROVING TRUSTEE’S MOTION TO SELL
                                   EQUIPMENT AT AUCTION

                      Upon consideration of the Trustee's Motion for Authority to Sell and Transfer

     Equipment at Trustee’s Auction Sale, after due Notice to creditors and other parties in interest, no

     objections having been filed,

                      IT IS HEREBY ORDERED AND DECREED that Leon P. Haller, Trustee is hereby

     authorized to sell equipment at Trustee's auction sale.

                  The proceeds shall be paid as follows:

            (a)       Auctioneer's commission and expenses to Lane Ryan Auctions as set forth in
                      Trustee's Application for Appointment of Auctioneer.
            (b)       The remaining proceeds from the sale shall be deposited in Trustee’s Bankruptcy
                      Estate Account pending further Order.


            Trustee is authorized to execute any and all papers and documents necessary to effectuate

            said sale.


                                                      By the Court,



                                                      ____________________________________
                                                      Henry W. Van Eck, Chief Bankruptcy Judge
                                                      Dated: September 1, 2022




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